        Case 2:18-cv-02421-JFW-E Document 228 Filed 09/28/18 Page 1 of 9 Page ID #:3716

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 G FPD        G Appointed    G CJA        G Pro Per    G✘Retained

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
BROIDY CAPITAL MANAGEMENT                                                CASE NUMBER:
LLC and ELLIOTT BROIDY
                                                                                                   18-cv-02421-JFW
                                                      PLAINTIFF(S),
                                  v.                                                            AMENDED
STATE OF QATAR, et al.
                                                                                          NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that BROIDY CAPITAL MGMT and ELLIOTT BROIDY                                               hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               ✘ Order (specify):
                                                                         G
 G Conviction and Sentence                                                   Dkt. No. 198 (Aug. 8, 2018)
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                        ✘ Judgment (specify):
                                                                         G
 G Interlocutory Appeals                                                     Dkt. No. 227 (Sept. 27, 2018)
 G Sentence imposed:
                                                                         G Other (specify):

 G Bail status:



Imposed or Filed on             Sept. 27, 2018           . Entered on the docket in this action on Sept. 27, 2018 (Dkt # 227) .

A copy of said judgment or order is attached hereto.


September 28, 2018                                       /s Jason Levin
Date                                                     Signature
                                                         G Appellant/ProSe          ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                  NOTICE OF APPEAL
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Case 2:18-cv-02421-JFW-E Document 228 Filed 09/28/18 Page 3 of 9 Page ID #:3718



 1
                    UNITED STATES DISTRICT COURT
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           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 3
     _______________________________________
 4
     BROIDY CAPITAL MANAGEMENT                     Case No. 18-cv-02421-JFW
 5   et al.,
                                                   PLAINTIFFS’ AMENDED NOTICE
 6
                  Plaintiffs,                      OF APPEAL AND
 7                                                 REPRESENTATION
 8         v.                                      STATEMENT

 9   STATE OF QATAR, et al.                        The Honorable John F. Walter
10            Defendants.
11
12         Broidy Capital Management LLC and Elliott Broidy, plaintiffs in the above-
13   named case (collectively, “Plaintiffs”), hereby file this Amended Notice of Appeal
14
     to the U.S. Court of Appeals for the Ninth Circuit.
15
           On September 21, 2018, Plaintiffs filed a protective notice of appeal to the
16
     Ninth Circuit of this Court’s order granting in part and denying in part Defendant
17
     State of Qatar’s Motion to Dismiss Pursuant to Rules 12(b)(1) and 12(b)(2) entered
18
     in this action on the 8th day of August, 2018 (ECF No. 198). See ECF No. 221
19
     (Sept. 21, 2018, Notice of Appeal).
20
           When Plaintiffs filed that notice, this Court had not yet entered final
21
     judgment. After Plaintiffs’ voluntary dismissal of the remaining unserved
22
23
     defendants, however, this Court entered final judgment dismissing the claims

24   against the State of Qatar and other defendants. (ECF No. 227).

25         In an abundance of caution, Plaintiffs amend their prior notice to also appeal
26   the portion of the final judgment dismissing Qatar from this action. See ECF No.
27   227. Copies of the Aug. 8, 2018, order (ECF No. 198) and the final judgment
28   (ECF. 227), both of which are the subject of this appeal, are attached to this notice.



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 1         Plaintiffs’ Representation Statement is attached to this notice as required by
 2   Ninth Circuit Rule 3-2(b).
 3
 4   Dated: September 28, 2018          STEPTOE & JOHNSON LLP
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 1                         REPRESENTATION STATEMENT
 2
           The undersigned represents Plaintiffs-Appellants Broidy Capital
 3
     Management LLC and Elliott Broidy. Pursuant to Rule 12(b) of the Federal Rules
 4
     of Appellate Procedure and Circuit Rule 3-2(b), Plaintiffs-Appellants submit this
 5
     Representation Statement. The following list identifies all parties to the action, and
 6
     it identifies their respective counsel by name, firm, address, telephone number, and
 7
     e-mail, where appropriate.
 8
 9
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     David Mark Powell                Not Yet Served

13   Mohammed bin Hamad bin           Not Yet Served
     Khalifa Al
14   Thani
15   Ahmed Al-Rumaihi                 Not Yet Served
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17   Dated: September 28, 2018     STEPTOE & JOHNSON LLP
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 1                            CERTIFICATION OF SERVICE
 2         I hereby certify that on September 28, 2018, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send
 4   notification of filing to all counsel of record.
 5
 6
                                                                By: /s/ Jason Levin
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